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        EXHIBIT 1 –
  ALJ Decision Terminating
Leo’s License and JO Decision
 Denying Leo’s Late Appeal
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                    UNITED STATES DEPARTMENT OF AGRICULTURE
                      BEFORE THE SECRETARY OF AGRICULTURE

In re:                                                       )
                                                             )
         Carrie Leo, an individual, doing business as        )
         Caring for Cottontails Wildlife Rescue &            )
         Rehabilitation, Inc., a New York State corporation, )
                                                             )
                                       Respondent.           )

       DECISION AND ORDER GRANTING COMPLAINANT'S MOTION FOR
     SUMMARY JUDGMENT AND DENYING RESPONDENT'S CROSS-MOTIONS
    FOR DISMISSAL OF ORDER TO SHOW CAUSE AND SUMMARY JUDGMENT

Appearances:

John V Rodriguez, Esq., withthec!f)ffice of the General Counsel, United States Department of
Agriculture, Washington, DQfdwthe Complainant, the Administrator of the Animal and Plant
Health Inspection Service ("APHIS")

Carrie Leo, pro se Respondent.�

Before Channing D. Strother, Chfof Administrative Law Judge

                                     Preliminary Statement

         This is a proceeding under the Animal Welfare Act, as amended (7 U.S.C. §§ 2131 et

seq.) ("A WA"); the regulations promulgated thereunder (9 C.F.R. §§ 1.1 et seq.)

("Regulations"); and the Rules of Practice Governing Formal Adjudicatory Proceedings

Instituted by the Secretary Under Various Statutes (7 C.F.R. §§ 1.130 et seq.) ("Rules of

Practice"). The matter initiated on April 21, 2020 with an Order to Show Cause Why Animal

Welfare Act License 21-C-0435 Should Not Be Terminated ("Order to Show Cause") filed by

the Administrator of the Animal and Plant Health Protection Service, United States Department

of Agriculture ("APHIS" or "Complainant").

         On June 19, 2020, Complainant filed a Motion for Summary Judgment against Carrie

Leo, an individual doing business as Caring for Cottontails Wildlife Rescue & Rehabilitation
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Center, Inc., a New York State corporation ("Respondent"), including a Memorandum of Points

and Authorities, based on section 1.143(6) of the Rules of Practice (7 C.F.R. § 1.143(6)). On July

30, 2020, Respondent filed an answer to Complainant's Motion, wherein Respondent raised

affirmative defenses and set forth counter-motions for dismissal of Complainant's Order to Show

Cause and summary judgment. Complainant filed a response thereto on August 3, 2020.

        Based on careful review of the pleadings and evidence before me, I find there are no

issues of material fact to warrant a hearing in this matter. As set out further below, I find that

Respondent's actions render her unfit to hold an AWA license as she (I) would be operating in

violation or circumveli� of State or local laws and (2) has been found to have �Y91�ted State or
                      ' Wil.'.·                                                     ' ftW!:,.

local laws or regulatib{;in,ertaining to the transportation ownership, neglect, or#afii·i'e of
                       1                                                             ·�_.   •




animals. Therefore, Coniplainant's Motion for Summary Judgment shall be grant.td, and

Respondent's AWA license shall be terminated. For the same reasons, as also set forth below,

Respondent's counter-motions for dismissal and summary judgment shall be de!:1-ied.

       This Decision ai1d Order is based upon consideration of the record evidence; the

pleadings, arguments, and explanations of the patties; and controlling law.

                                  Jurisdiction and Burden of Proof

       The AWA vests the United States Department of Agriculture ("USDA") with the

authority to regulate the transportation, purchase, sale, housing, care, handling, and treatment of

animals subject to the AWA. 1 Pursuant to the AWA, persons who sell and transport regulated

animals, or who use animals for research for exhibition, must obtain a license or registration



1 See 7 U.S.C. §§ 2131, 2133; Pub. L. No. 99-198 § 1752, 99 Stat. 1354, 1645 (1985) (codified
at 7 U.S.C. § 2143(a) (1994)); Animal Legal Defense Fund, Inc. v. Perdue, 872 F.3d 602, 607-08
(D.C. Cir. 2017).


                                                  2
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issued by the Secretary of Agriculture. 2 Further, the AWA authorizes the Secretary to

promulgate appropriate regulations, rules, and orders to promote the purpose of the AWA. 3 The

AWA and related Regulations fall within the enforcement authority of the Animal and Plant

Health Inspection Service ("APHIS"), an agency of USDA. 4 APHIS is the agency tasked to

issue licenses under the AWA. 5

         As noted above, APHIS filed its Order to Show Cause 6 pursuant to the Rules of Practice,

which apply to the AWA and related Regulations. The case was assigned to me on June 9, 2020

and is properly before me for resolution.

         APHlSj�the proponent of an order against Respondent in this p$,tt<lieeding, has the
               ,1- 1 r                                                   iOr:.·

burden of p1'�0&f The standard of proof applicable to adjudicatory proci��_µ1gs under the

Administrat-iw-�Procedure Act, such as this one, is the preponderance of the evidence. 8



2 7 U.S.C. § 2'133.
3 7 U.S.C. § 215L
4
  See ALDFv. Perdue, 872 F.3d at 607; Animal Welfare; Inspection, Licensing, and
Procurement of Animals, 69 Fed. Reg. 42089, 42089 (July 14, 2004) (to be codified at 9 C.F.R.
pts. 1, 2).
5
    ALDF, 872 F.3d at 607-08.
6
  See 7 C.F.R. § 1.132 ("Complaint means the formal complaint, order to show cause, or other
document by vi,tue of which a proceeding is instituted.").
7 5 U.S.C. § 556(d).
8 Herman & J..1acLean v. Huddleston, 459 U.S. 375, 387-92 (1983); Steadman v. SEC, 450 U.S.
91, 92-104 (1981); White, 73 Agric. Dec. 114, 153 (U.S.D.A. 2014); Tri-State Zoological Park
of W. Md., 72 Agric. Dec. 128, 174 (U.S.D.A. 2013); Pearson, 68 Agric. Dec. 685, 727-28
(U.S.D.A. 2009), aff'd, 411 F. App'x 866 (6th Cir. 2011); Schmidt, 66 Agric. Dec. 159, 178
(U.S.D.A. 2007); Lawson, 57 Agric. Dec. 980, 1015 (U.S.D.A. 1998) ("The standard of proof in
administrative proceedings conducted under the Animal Welfare Act is preponderance of the
evidence."); Lawson, 57 Agric. Dec. 980, 1098 (U.S.D.A. 1998) ("Complainant has the burden
of proving a violation of the Animal Welfare Act and [the] Regulations [and Standards] by a
preponderance of the evidence.") (ci(ing Lesser, 52 Agric. Dec. 155, 166 (U.S.D.A. 1993), aff'd,


                                                 3
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       Furthermore,' the Judicial Officer has set fo1th the standard for summary judgment in a

proceeding before a USDA Administrative Law Judge as follows:

                                 The Summary Judgment Standard

                 The Rules of Practice do not specifically provide for the use or exclusion
         of summary judgment; however, I have consistently held that hearings are futile
         and summary judgment is appropriate in proceedings in which there is no factual
         dispute of substance. A factual dispute of substance is present if sufficient
         evidence exists on each side so that a rational trier of fact could resolve the
         dispute either way and resolution of the dispute is essential to the proper
         disposition of the claim. The mere existence of some factual dispute will not
         defeat an otherwise properly supported motion for summary judgment because the
     ��ifact dispute must be material. The usual and primary pm:pose of summary
     -'cijudgment is to isolate and dispose of factually unsuppmted claims or defenses.

         -,ary .·        If the moving patty supports its motion for summ_ai'y judgment, the burden
       ��ifts to the non-moving pa1ty who may not rest on merel'frllegation or denial in
           gdhe pleadings, but must set forth facts showing there is a genuine issue for trial. In
  _ _. _j-Qsetting forth such facts, the non-moving party must identify the facts by reference
          . : :_-to depositions, documents, electronically stored information, affidavits,
                 declarations, stipulations, admissions, interrogatory answers, or other materials. In
        --,--ruling on a motion for summary judgment, all evidence-must be considered in the
      ·.-.,�:light most favorable to the non-moving patty with all justifiable
                                                                          - · ..   inferences to be
       -- · -drawn in the non-movant's favor.

Knaust, 73 Agric. Dec. 92, 98-99 (U.S.D.A. 2014) (footnotes omitted).

                                Statutory and Regulatory Authority

       Congress enacted the AWA, in part, "to insure that animals intended for use in research

facilities or for exhibition purposes or for use as pets are provided humane care and treatment."9

To achieve this purpose, Congress provided that the "Secretary shall issue licenses to dealers and

exhibitors upon application therefor in such form and manner as he may prescribe[.]"10 The



34 F.3d 1301 (7th Cir. 1994)).
9 7 u.s.c. § 2131(1).

IO 7 u.s.c. § 2133.

                                                      4
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      power to require and issue licenses under the AWA includes the power to terminate a license and

      to disqualify a person whose license has been terminated from becoming licensed. 11

                 The AWA authorizes the Secretary of Agriculture to "promulgate such rules,regulations,.

      and orders as he may deem necessary in order to effectuate the purposes of [the Act]." 12 The

      Regulations specify certain bases for denying an initial application for an AWA license13 and

      further state that an AWA license may be terminated for any reason that an initial license

     application may be denied. 14 Applicable here is section 2.1 l (a) of the Regulations (9 C.F.R. §

  ,;:t-:•2.11(a)),which provides that a "license will not be issued;to any applicant who . . . [i]s or was

  ·'.3'tc10.perating in violation or circumvention of any Federal,·St�te,or local laws"15 or "has been found

 �aftl:o have violated any Federal,State,our local laws or regt'i.l:Uti'ons pertaining to the transp011ation,

_ :_.i'.:'..'..ownership,neglect or welfare of animals,or is otherwisif1mfit to be licensed and the

     Administrator determines that the issuance of a license would be contrary to the purposes of the

    . Act." 16

                                                Procedural History

                 APHIS initiated this proceeding on April 21,2020 by filing an order to show cause why




     11 See Bauck, 68 Agric. Dec. 853,856,862 (U.S.D.A. 2009),appeal d;smissed, No. 10-1138
     (8th Cir. Feb. 24, 201 O); Anhnals ofA1ont., Inc., 68 Agric. Dec. 92, I 05-06 (U.S.D.A. 2009);
     Bradshaw, 50 Agric. Dec. 499,507 (U.S.D.A. 1991).
     12 7 U.S.C. § 2151.
     13
           See 9 C.F.R. § 2.11.
     14
        9 C.F.R. § 2.12 ("A license may be terminated during the license renewal process or at any
     other time for any reason that an initial license application may be denied pursuant to § 2.11 after
     a hearing in accordance with the applicable rules of practice.").
      15   9 C.F.R. § 2.11(a)(5).
     16 9 C.F.R. § 2.1 l(a)(6).


                                                           5
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Respondent's AWA license should not be terminated ("Order to Show Cause"). 17 The Order to

Show Cause states,in pe11inent pa11:

                 The Respondent pied guilty to two violations of the State law of New
         York pertaining to the welfare and ownership of animals,and maintaining
         accurate records involving animals. The Respondent's state LCPEE license has
         been revoked,based in part,on the two violations of State law pertaining to
         animals and maintaining accurate records involving the animals. The
         Respondent's actions render her unfit to hold an AWA license as she: 1. would be
         operating in violation or circumvention of State or local laws; 2. has been found
         to have violated State or local laws or regulations pertaining to the transportation,
         ownership,neglect, or welfare of animals; and 3. has refused to provide APIDS
         officials access for inspection. The Administrator has determined that the
         Respondent's continuous possession of aiT AWA license would be contrary to the
         purpose of the Act,and that said license should be terminated.

Order to Show Cause at 4. Moreover,the Order to Show Cause requested "this proceeding be

decided based upon the written record,or by summary judgment; or,alternatively,following an

oral hearing in conformity with the Rules of Practice governing proceedings under the Act; and

that such order or orders be issued as are authorized by the Act and warranted under the

circumstances." 18

         On June 2,2020, Respondent filed an answer that admitted some allegations of the Order

to Show Cause,denied other allegations of the Order to Show Cause,and raised thirteen

"affirmative defenses." 19



17
   The Order to Show Cause included five attachments: (1) New York State Department of
Environmental Conservation,License to Collect or Possess - Education/Exhibition: License
Information/Conditions; (2) New York State Arrest Records for Carrie M. Leo; (3) Certificate of
Conviction in Case No. 16080141 (State of New York,Wayne County, Macedon Town Court);
(4) July 20,2018 Hearing Report of Richard A. Sherman,Administrative Law Judge (DEC Case
No. OHMS 2017-72265); (5) November 7,2018 Order of the Commissioner (DEC Case No.
OHMS 2017-72265).
18
     Order to Show Cause at 4-5.
19
     See Answer at 1-7. The Answer also included an attachment: "Answer to Commissioner


                                                  6
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              On June 16, 2020, I issued an order ("Exchange Order") setting deadlines for prehearing

     submissions by each party. 20

              On June 19, 2020, APHIS filed a Motion for Summary Judgment "based on section

     1. l43(b) ofthe Rules ofPractice that govern proceedings under the Animal Welfare Act (7

     C.F.R. § l.143(b)), on all ofthe pleadings and papers on file herein and on [an] attached

     memorandum ofpoints and authorities." 21 On July 30, 2020, following two extensions oftime, 22

     Respondent filed an "Answer to Complainant's Motion for Summary Judgment & Counter­

     Motion" that included several exhibits. 23 Respondent's Counter-Motion asserted that

IC   "Complainant's Order to Show Cause Should be Dismissed in its entirety upon summary


     Seggos' Final Determination ofNoven1ber 7, 2018" ("Attachment 1").
     20
        Pursuant to the Exchange Order, Complainant had until August 17, 2020 to file with the
     Hearing Clerk a list ofexhibits and witnesses and to send copies ofits exhibits and list to
     Respondent. Respondent was given until October 16, 2020 to do the same. See Exchange Order
     at 1-2. Complainant filed its Witness and Exhibit List on August 17, 2020. Respondent has not
     filed a list ofwitnesses and exhibits, but her deadline for doing so has yet to pass. On August 18,
     2020, Respondent filed a "Request to Produce Documents" and "Notice ofObjection to
     Complainant's Exhibit List." Given the herein ruling ofsummary judgment against Respondent,
     however, it is unnecessary for me to reach a determination on Respondent's Request and
     Objection.
     21
       Motion for Summary Judgment at 1. The Motion includes a "MEMORANDUM OF POINTS
     AND AUTHORITIES and an "ATTACHMENT l," composed ofRespondent's AWA licerise
     documents.
     22
       See Order Granting Respondent's Unopposed Request for �xtension ofTime to Respond to
     Complainant's Motion for Summary Judgment (filed July 14, 2020); Order Granting
     Respondent's Second Request for Extension ofTime to Respond to Complainant's Motion for
     Summary Judgment (filed July 24, 2020).
     23
        The "Exhibit List" included with Respondent's Answer and Counter-Motion identified the
     following: (1) "Respondent's Letter to USDA General Counsel, Steve Vaden," dated
     04/22/2019; (2) "Email Thread between Rodriguez and Leo," dated 03/26/2020; (3) "Email from
     Respondent to Complainant," dated 04/03/2020; (4) "Letters indicating incomplete and/or
     inaccurate paperwork," dated "various"; (5) "Email between state and federal staff members,"
     dated ''pending"; and (6) "Images ofOpossum Bacterial Infections," dated 8/17/2019. However,
     the cover pages for Exhibits 4 and 5 were marked "pending" with no actual documents to follow.


                                                      7
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judgment in favor of the Respondent."24

        On August 3, 2020, Complainant filed a "Response to Respondent's Answer to

Complainant's Motion for Summary Judgment" that "move[d] for immediate summary judgment

to have the Respondent's A WA license 21-C-0435 terminated without a hearing" and "move[d]

for denial of Respondent's counter-motion." 25 Respondent filed an Exhibit 5 on August 5, 2020

and Exhibits 4A, 4B, 4C, and 5 on August 10, 202026 .27


24
  Respondent's Answer to Co,mplainant's Motion for Summary Judgment ("Answer to M�J") at
21.
25
   Response to Respondent's Ahswer to Complainant's Motion for Summary Judgment ,Jlic:
("Response to Answer to MS.£'9tat 7. The Response included two attachments: (1) print.;o\Jt of
U.S. DEP'T OF AGRIC., ANIMAL & PLANT HEALTH INSPECTION SERVS., ENFORCEMENT
SUMMARIES, https://www.aphis.usda.gov/aphis/ourfocus/business-                           _ :":'11'-
services/ies/ies_performance .metrics/ies-panels/enforcement-summaries; and (2) print-out of
                                 1
N.Y. ENVTL. CONSERV. LAW-§ 71-4001 (McKinney 2019). In the Response, Complainatif ·
requested that "Respondent be denied from supplementing her Answer MSJ and filing and
further motions as to the MSJ;-after 4:30 p.m. Eastern on Friday, July 31, 2020." Id. at 6 (noting
that Respondent "failed to fil� _Exhibits [4 and 5] to her Answer MSJ"). I did not grant __·_:_·_
Complainant's request, as Co111plainant failed to show how it would be prejudiced by
supplementation.
26
   The "Exhibit 5" filed on August 5, 2020 includes two emails-one from William V. Powell
and one from Andrea D'Ambrosio-as well as Respondent's explanations regarding said emails.
The August 10, 2020 exhibits include: documents relating to the denial of Respondent's LCPEE
application (Exhibit 4A); documents relating to the renewal application of a different licensee
(Exhibit 4B); a letter that purpo11edly serves as an "example [of] many wildlife rehabilitators
who turn in annual rehabilitation logs grossly late for submission" (Exhibit 4C); and emails from
William V. Powell and Andrea D' Ambrosio, as well as Respondent's explanations regarding
said emails (Exhibit 5) (same as Exhibit 5 filed on August 5, 2020).
27 On August 25, 2020, Complainant filed a "Motion to Strike Respondent's Answer to
Complainant's Motion for Summary Judgment Exhibits 4 & 5." However, the Motion fails to
demonstrate how Complainant would be prejudiced by my admitting Respondent's exhibits to
the record, and Complainant's sole reason for objecting appears to be that the exhibits were filed
after Respondent's deadline to answer Complainant's Motion for Summary Judgment had
passed. See Motion to Strike at 2-3; Erickson v. Pardus, 551 U.S. 89, 94 (2007) ("A docuinent
filed prose is to be liberally construed, and a prose [pa11y], however inartfully pleaded, must be
held to less stringent standards than formal pleadings drafted by lawyers.") (internal quotations
omitted). Therefore, Complainant's Motion to Strike Respondent's Exhibits 4 and 5 is DENIED.


                                                  8
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                                     Summary of the Evidence 28

      A. Admissions

          In her Answer to APHIS's Order to Show Cause, Respondent failed to deny-and

therefore admitted 29-that she is an individual doing business as Caring for Cottontails Wildlife

& Rescue Rehabilitation, Inc.; that she operated as an exhibitor, as that term is defined in the Act

and Regulations; and that she held AWA license 21-C-0435. Respondent further admitted she

was convicted of two offenses in the State of New York, Wayne County: (1) failing to provide

proper caging facilities:ifor opossums in violation of Condition #10 of her New Ybtk State

License to Collect ort!:l§sess - Education/Exhibition ("LCPEE"); and (2) failingJ-Q,-submit an

accurate and complefeitospection report in violation of Condition #22 of her LC:PE-E: 30 In

addition, Responden¥a.dmitted that on or about November 7, 2018, the Commi���fmer of the
                                                                                 -�·- I - •



New York State Department of Environmental Conservation issued an order revoking

Respondent's NewYork State LCPEE (DEC Case No. OHMS 2017-72265).31-:_'·

      B. Documentary Evidence

APHIS Exhibits 32



28
   This Decision and Order relies upon the pleadings and upon declarations and documentary
evidence attached to APHIS's Order to Show Cause, Respondent's Answer to Notice to Show
Cause, APHIS's Motion for Summary Judgment, Respondent's Answer to Motion for Summary
Judgment and Counter-Motion, APHIS's Response to Respondent's Answer to Motion for
Summary Judgment and Counter-Motion, and the exhibits filed by Respondent on August 5,
2020 and August 10, 2020.
29
     See 7 C.F.R. § l .136(b)(l),(c); Answer at 1-2.
30
     See Answer at I .
31 Id. at 2.
32
  Official notice is taken of CX-3 (Certificate of Conviction in Case No. 1608131, State of New
York, Wayne County, Macedon Town Court), CX-4 (Hearing Rep01t of ALJ Richard A.


                                                   9
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CX-1          New York State Department of Environmental Conservation, License to
              Collect or Possess - Education/Exhibition: License Information/Conditions

CX-2          New York State, Arrest Records for Carrie M. Leo

CX-3          Certificate of Conviction in Case No. 1608141 (State of New York, Wayne
              County, Macedon Town Court)

CX-4          July 20, 2018 Hearing Report of Richard A. Sherman, Administrative Law Judge
              (DEC Case No. OHMS 2017-72265)

CX-5               November 7, 2018 Order of the Commissioner (DEC Case No. OHMS 2017-
            '-':·i ]2265)

CX-6      - -,mm.WA Class C Exhibitor License Documents (No. 21-C-iD4S5)   33



CX-7     · _;�lPrint-out of APHIS's "Enforcement Summaries" webpJgl!1'om USDA.gov
                                                                      -
CX-8       ,:ii{Print-out of McKinney's Consolidated Laws of New York Annotated§ 71-4001

Respondent Exhibits

RX-1          Answer to Commissioner Seggos's Final Determination o_f November 7, 2018

RX-2          April 22, 2019 Letter from Respondent to Secretary Sonny Perdue (CC to Steven
              Vaden, General Counsel)

RX-3          March 2020 email thread between Respondent and John V. Rodriguez

Sherman, DEC Case No. OHMS 2017-72265), and CX-5 (Order of the Commissioner, DEC
Case No. OHMS 2017-72265). 7 C.F.R.§ l.14l(h)(6).
33
   These documents include: Application for License Renewal dated 7/23/19; AWA License
Certificate No. 21-C-0435 (Expiration Date: August 25, 2020); Application for License Renewal
dated 8/17/18; A WA License Certificate No. 21-C-0435 (Expiration Date: August 25, 2019);
Application for License Renewal dated 7/31/17; A WA License Certificate No. 21-C-0435
(Expiration Date: August 25, 2018); Application for License Renewal dated 8/19/16; AWA
License Ce1tificate No. 21-C-0435 (Expiration Date: August 25, 2017); Application for License
Renewal dated 8/1/15; AWA License Certificate No. 21-C-0435 (Expiration Date: August 25,
2016); Application for License (New License) dated 1/4/13; AWA License Certificate No. 21-C-
0409 (Expiration Date: February 28, 2014).

                                             10
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RX-4             April 3,2020 email from Respondent to John V. Rodriguez

RX-SA            New York State Depaitment of Environmental Conservation,Notices of
                 Application/License Denial

RX-SB            Documents from renewal application of unidentified licensee,with explanation by
                 Respondent

RX-SC           September 25,2005 letter from Elise Able of Fox Wood Wildlife Rescue,Inc.,
                with explanation by Respondent

                Images of bacterial infections in the Virginia OJ)OSsum

                     May 12,2017 email from WilliamV. Powell arfd!@farch 29,2017 email from
                    Andrea D'Ambrosio,with explanations by Respondent
       =:�.< �,.                                                       ge �
     :;�I ': I hereby admit to the record all of the exhibits identifa!d'. herein above.

                                             Discussion

     :�:- As previously noted,an administrative law judge mayen\er summary judgment if the

pl_e�dings,affidavits,or other materials show there is no genuine issue as to any material fact. 34

An issue is "genuine" if sufficient evidence exists on each side so that a rational trier of fact

could resolve the issue either way,and an issue of fact is "material" if under the substantive law

it is essential to the proper disposition of the claim. 35 The mere existence of some factual dispute



34
   Veg-M;x, Inc. v. U.S. Dep 't ofAg,-;c., 832 F.2d 601,607 (D.C. Cir. 1987) (affirming the
Secretary of Agriculture's use of summary judgment under the Rules of Practice and rejecting
Veg-Mix,Inc.'s claim that a hearing was required because it answered the complaint with a
denial of the allegations); see also Dvh1gston Care Ctr. v. Dep 't of Health & Human Servs., 108
F. App'x 350,354 (6th Cir. 2004) ("This Court recently determined that the rule which allows
administrative law judges to grant a summary judgment without an in-person ha·ering is legally
enforceable.").
35
  Wallace v. Le;dos InnovaNons C01p., 805 F. App'x 389,392 (6th Cir. 2020); Adler v. Wal­
Mart Stores, Inc., 144 F.3d 664,670 (10th Cir. 1998);


                                                  11
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       will not defeat an otherwise properly supported motion for summary judgment,as the factual

       dispute must be "material to an issue affecting the outcome ofthe case." 36

                 If the moving party supports its motion,the burden then shifts to the non-moving party. 37

      The non-moving party may not rely upon the mere allegations or denials of her pleading; rather,

      must offer specific facts showing there is a genuine issue for hearing. 38 The non-moving must

      identify such facts by reference to affidavits,depositions,transcripts,or specific exhibits.39 The

      non-moving party may not rest upon ignorance of facts,on speculation,or on suspicion and may

. -;<._ /·,,_ not escape summary judgment in the mere hope that soinething will turn up at hearing. 40

· f:J,t�- However, all evidence must viewed in the light most fav:orable to the non-moving party. 41

            I.      No Genuine Issue of Material Fact

                 The material facts are not in dispute in this cast ,and a hearing is therefore unnecessary.

      As previously discussed,sections 2.11 and 2.12 of the Regulations (9 C.F.R. §§ 2.11 and 2.12)

      authorize the Depmtment to terminate the A WA license of any person,at any time,who "[i]s or

      was operating in violation or circumvention of any Federal,State or local laws" 42 or "has been



      36
        Haves v. City of Miami, 52 F.3d 918,921 (11th Cir. 1995) (citingAnderson, 477 U.S. at 247-
      49; Spencer v. Zimmerman, 873 F.2d 256,257 (11th Cir. 1989)); see Schwartz v. Bhd. of
      Maintenance Way Employees, 264 F .3d 1181,1183 (10th Cir. 2001).
      37
        See Celotex Corp. iJ. Catrett, 477 U.S. 317,331 (1986); Anderson v. Liberty Lobby, Inc., 477
      U.S. 242,249 (1986).
      38
         Celotex Corp., 477 U.S. at 324; see also Lujan v. Defenders of Wildlife, 504 U.S. 555,561
      (1992); Muck v. United States, 3 F.3d 1378,1380 (10th Cir. 1993).
      39
           Conaway v. Smith, 853 F.2d 789,792 (10th Cir. 1988)
      40
           Id. at 793-94.
      41 Tolan v. Cotton, 572 U.S. 650,656-57 (2014); Anderson, 477 U.S. at 242-43; Adickes v. S.H
      Kress & Co., 398 U.S. 144, 158-59 (1970).
      42
           9 C.F.R. § 2.ll(a)(5).

                                                          12
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found to have violated any Federal, State, or local laws or regulations pe11aining to the

transportation, ownership, neglect, or welfare of animals, or is otherwise unfit to be licensed and

the Administrator determines that the issuance of a license would be contrary to the purposes of

the Act." 43 As set out herein, the record is undisputed that Respondents have "been found to

have violated . . . Federal, State, or local laws or regulations pertaining to the transportation,

ownership, neglect, or welfare of animals ..." 44 Thus, Complainant has met its burden of

sho,wing that Respondent's actions render her unfit to hold an AWA license as she (1) would be

operating in violation or circumvention of State· and local laws and (2) has been found to have

violated State or local laws or regulations related to the ownership and welfare of animals.

          It is undisputed that on or about December 12, 2017, the State of New York, Wayne

County, in Case No.1608141, convicted Respondent of the offenses cited in Arrest Records

BF0195322 and BF0195333.45 In fact,·Respondent pleaded guilty to both offenses, 46 each of

which pertains to the transportation, ownership, neglect, or welfare of animals: (1) failing to

provide proper caging facilities for opossums in violation ofLCPEE #623 Condition 10 and (2)

failing to submit an accurate and complete exhibition repo11 in violation of LCPEE #623

Condition 22.47 Respondent's guilty pleas and convictions meetthe standard imposed by 9

C.F.R. § 2.l l(a)(6).48



43
     9 C.F.R. § 2.l l(a)(6).
44
     9 C.F.R. § 2.l l(a)(5).
45
     See CX-3.
46
     See id.
47
     See CX-2; CX-3.
48
   See 9 C.F.R. § 2.l l(a)(6) ("A license will not be issued to an applicant who ...has pied nolo
contendre (no contest) or has been found to have violated any Federal, State, or local laws or


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          Further, Complainant has established that Respondent's LCPEE (New York State

License to Collect or Possess - Education/Exhibition) was revoked. There is no dispute that on

or about July 20, 2018, after an administrative hearing, DEC Administrative Law Judge Sherman

("ALJ Sherman") recommended that DEC Commissioner Basil Seggos ("Commissioner

Seggos") issue an order revoking Respondent's LCPEE. 49 The recommendation was based in

part on Respondent's failure to submit timely reports to the DEC (the conviction of Arrest

Record BF0195333) and failure to comply with the terms and conditions of LCPEE #623 (the

con�iction of Arrest Record BF0195322). 50 There also is no dispute that on or about NovembeF"' -

7, 2018, Commissioner Seggos, in fl.1:11e Carrie Leo, DEC Case No. OHMS 2017-72265, issuedlm:

decision upon ALJ Sherman's recomrnendation and revoked Respondent's New York State

license, LCPEE #623. 51 There is no:question that allowing Respondent to maintain her AWA :·- ·

license would empower her to circumvent the revocation of her New York State LCPEE in

violation of 9 C.F.R. § 2.l l(a)(5). 52

          Complainant has proven by- a preponderance of the evidence that Respondent qualifies·

for license termination pursuant to both 9 C.F.R. §§ 2.11(5) and 2.11(6). 53 Accordingly, I find



regulations pertaining to the transpo1iation, ownership, neglect, or welfare of animals[.]").
49
     See CX-4.
50
     See id.
51 See CX-5.
52
  See 9 C.F.R. § 2.1 l(a)(5) ("A license will not be issued to an applicant who ... [i]s or would
be operating in violation or circumvention of any Federal, State, or local laws[.]"); Ludwig, 71
Agric. Dec. 449, 454 (U.S.D.A. 2012) (finding the petitioner's failure to maintain a state license
met the standards imposed in 9 C.F.R. § 2.l l (a)(5)).
53
  See Ash, 71 Agric. Dec. 900, 913-14 (U.S.D.A. 2012) (holding that termination was the
appropriate sanction where the "proceeding was instituted under the authority of the Secretary of
Agriculture to terminate an Animal Welfare Act license and the Administrator consistently

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that summary judgment-in favor of Complainant-is appropriate in this case. 54

      II.       Respondent's Defenses

            Respondent raises several defenses in response to both the Order to Show Cause and

Complainant's Motion for Summary Judgment. As discussed below,however,these

arguments-for which Respondent fails to cite any supporting legal authority-are without merit

or are immaterial to the summary disposition of this case. Moreover,Respondent's filings are

devoid of the type of supporting documentation necessary to establish a genuine issue for

hearing.

            First, Respondent denies that "both allegations [in the Arrest Records] were frrlmc

'offenses. "'55 I reject thi·s,wgt1ment,as the record shows that the convictions resultingimrom

those Arrest Records wertnfnbstantiated numerous times. First,the offenses were sub�tµntiated

on or about December 12,2017,when the State of New York,Wayne County,in Case No,

16080141,convicted Respondent of the two offenses. 56 The offenses were also substantiated on

or about July 20,2018, itYln·re Carrie Leo, DEC Case No. OHMS 2017-72265,where-·

Respondent admitted to pleading guilty to the two offenses and DEC met its burden to establish




sought termination of [Respondent's] Animal Welfare Act license").
54
   See Bauck, 68 Agric. Dec. 853,858 (U.S.D.A. 2009),appeal dismissed, No. 10-1138 (8th Cir.
Feb. 24,2010) ("I have repeatedly held summary judgment appropriate in cases involving the
termination of an Animal Welfare Act license and disqualification from becoming licensed under
the Animal Welfare Act based upon prior criminal convictions. Hearings are futile where,as in
the instant proceeding,there is no factual dispute of substance.") (citing Animals ofMont., Inc.,
68 Agric. Dec. 92,104 (U.S.D.A. 2009); Amarillo Wildlife Refi1ge, Inc., 68 Agric. Dec. 77,81
(U.S.D.A. 2009); Vigne, 67 Agric. Dec. 1060,1060-61 (U.S.D.A. 2008); Levinson, 65 Agric.
Dec. 1026,1028 (U.S.D.A. 2006)).
55
     Answer at 1 15.
56
     See supra note 44 and accompanying text.

                                                    15
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that Respondent violated Condition 10 of her LCPEE by failing to provide proper caging

facilities for opossums 57 and Condition 22 of her LCPEE by failing to submit the LCPEE repo1t

form. 58 The offenses were again substantiated on or about November 7, 2018, in In re Carrie

Leo, DEC Case No. OHMS 2017-72265, when Commissioner Seggos issued a decision upon the

recommendation of ALJ Sherman and revoked Respondent's New York State LCPEE #623

based in pa1t on the two offenses.59 Finally, the offenses were substantiated on or about June 2,

2020, in Respondent's Answer to the Order to Show Cause. 60 Even assuming, -arguendo, that

Respondent's convictions of the Arrest Records were not qualifying offenses/to allow

Respondent to con.tirit1e holding her AWA license would nonetheless allow -he.11..ito circumvent the

revocation of LCP�E #623.61

         Second, Respondent contends that the Order to Show Cause "is purpos�ly vague." 62 As

Complainant correctly points out, 63 the Rules of Practice simply require that a complaint or

order to show catise�'state briefly and clearly the nature of the proceeding,-the-:identification of

the complainant·m�d·the respondent, the legal authority and jurisdiction under the proceeding is

instituted, the allegations of fact and provisions of law which constitute a basis for the

proceeding, and the nature of the relief sought." 64 I find that the Order to Show Cause satisfies



57
     CX-4 at 12.
58
     CX-4 at 9.
59
     See supra note 50 and accompanying text.
60   Answer at 1 � 5.
61 See supra note 51 and accompanying text.
62   Answer at 3.
63
     See Motion for Summary Judgment at 9.
64   7 C.F.R. § l.135(a).


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each of these requirements, and is therefore not impermissibly vague. 65 Therefore, Respondent's

contention that summary judgement should be denied because the Order to Show Cause is

"purposely vague" is rejected.

          Third, Respondent asserts that her New Yark State LCPEE #623 was improperly revoked

for numerous reasons.66 The issue to be determined in this AWA license-termination proceeding

before me is whether Respondent has been found to have violated State or local laws or

regulations-related to the ownership and welfare of animals. Respondent does not deny that she

has been .so,found but posits that those findings were improper, whicfuis, in essence, a collateral

attack oriitlwJ:state proceedings, which is something beyond the scopfuilf this AWA license­

terminatid�,proceeding, and, therefore, will not be entertained. If Refqforident wishes to contest

her LCPEE:revocation she must turn to the State Courts of New York;-:as that is the proper forum

in which- to direct her argument.67

         --Eoiuth, Respondent states it is her "understanding she pled:with Alford Pleas therefore

not allowing the citations to be able to be used against her again iffanother proceeding such as

this administrative proceeding." 68 This argument lacks merit. While Respondent offers no actual

evidence that an Alford plea was made, Complainant's evidence shows that Respondent pleaded

guilty to two offenses. 69 An Alford plea allows a defendant to plead guilty to and to accept a




65   See Order to Show Cause at 1-5.
66   Answer at 4.
67   Bauck, 68 Agric. Dec. at 863.
68   Answer at 4; see also Respondent's Answer to MSJ at 18.
69   See CX-3.

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  guilty verdict and conviction as to criminal charges,while maintaining innocence as to them. 70

  Even if Respondent were able to show that her convictions were indeed based on Alford pleas,an

 Alford plea is nonetheless a guilty plea an? the conviction a conviction; 71 it would not change

  the fact that Respondent was found by the State of New York,Wayne County,to have violated a

  law or regulation relating to the transpo1iation,ownership,neglect,or welfare of animals. 72

 Further,if a nolo contendre plea would have been adequate grounds to terminate Respondent's

 license,73 a guilty plea certainly suffices. And as Complainant correctly states: "In the end it

 -reaily doesn't matter because Respondent's state LCPEE license has been revoked and to allow

 ht!r1-to maintain AWA license 21-C-0435 would allow the-R�ondent to operate in violation oi·

"£ir.c,umvention of State or local law." 74

           Fifth,Respondent contends that Complainant did :"'fi:0± sufficiently establish[] the element

 of willfulness required to revoke Respondent's license." 75 In its Answer to Complainant's

 Motion for Summary Judgment,Respondent states:

           [T]he willfulness factor was discussed in the Answer,of the Respondent to the
           Complainant's Order to Show Cause because it can be considered one of the
           factors which comprise the egregiousness actions which the government finds
           offensive. Willfulness indicates good-faith v. bad-faith and an egregious error or
           offense lacks any good faith effo1i.

 70
    North Carolina v. Alford, 400 U.S. 25,37 (1970); see United States v. Taylor, 659 F.3d 339,
 347 (4th Cir. 2011); United States v. Mancinas-Flores, 588 F.3d 677, 681 (9th Cir. 2009).
 71 Abimbola v. Ashcroft, 378 F.3d 173,181 (2d Cir. 2004); see also United States v. Ramirez­
 Gonzalez, 755 F.3d 1267,1273 (11th Cir. 2014); United States v. King, 673 F.3d 274,281 (4th
 Cir. 2012).
 7
  2See CX-3; King, 673 F.3d at 282-83 ("A cou1i's acceptance of an Alford plea,like an
 acceptance of a guilty plea,indisputably qualifies as an 'adjudication."').
 73
      9 C.F.R. §§ 2.l l (a)(4),2.12.
 74
      Complainant's Response to Respondent's Answer to MSJ at 5.
 75
      Answer at 5; see Respondent's Answer to MSJ at 19.


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Answer to MSJ at 19. The applicable Regulations do not require a showing ofwillfulness.76

Section 1.133(6)(3) ofthe Rules ofPractice,however,states:

         As provided in 5 U.S.C. 558,in any case,except one ofwillfulness or one in
         which public health,interest,or safety otherwise requires,prior to the institution
         ofa formal proceeding which may result in the withdrawal,suspension,or
         revocation ofa "license" as that term is defined in 5 U.S.C. 551(8),the
         Administrator,in an effort to effect an amicable or informal settlement ofthe
         matter,shall give written notice to the person involved ofthe facts or conduct
         concerned and shall afford such person an opportunity,with a reasonable time
         fixed by the Administrator,to demonstrate or achieve compliance with the
         applicable requirements ofthe statute,or the regulation,standard,instruction or
         order promulgated thereunder.                0 ,.




7 C.F.R. § 1.133(6)(3). Although Complainant dde;clmse the term "willful" in its Order to Show

Cause when alleging violations of7 U.S.C. § 2146(�)-and 9 C.F.R. § 2.126(a),77 Complainant's

Motion for Summary Judgment is not based upoTl.�those allegations; they are immaterial to the

outcome ofthis case. 78 Therefore,willfulness is not an element that Complainant need establish,

and neither prior written notice nor an opportunity.to demonstrate compliance were required.

Nonetheless,Respondent's criminal convictions both evidence willfulness and implicate the

ownership and well-being ofanimals. 79 Respondent's willfulness argument is therefore rejected.


76
     See 9 C.F.R. §§ 2.11 and 2.12.
77
     See Order to Show Cause at 2 � 6,4 � 11.
78
     See supra note 36 and accompanying text.
79
   See Bauck, 68 Agric. Dec. at 861 (U.S.D.A. 2009) ("ln a number ofproceedings,I have
terminated an Animal Welfare Act license based upon a licensee's criminal conviction without
any written notice or opportunity to demonstrate or achieve compliance prior to the institution of
the proceeding. The United States Court of Appeals for the District ofColumbia Circuit has also
held that criminal convictions fall within the willfulness exception of 5 U.S.C. § 558(c) and,
thus,has upheld license terminations based on criminal convictions without any prior written
notice and opportunity to demonstrate or achieve compliance.") (citing Kleiman & Hochberg,
Inc. v. U.S. Dep't ofAgric., 497 F.3d 681,691 (D.C. Cir. 2007),cert. denied sub nom. Hirsch v.
Dep 't ofAgric., 128 S. Ct. 1748 (2008); Coosemans Specialties, Inc. v. U.S. Dep't ofAgric., 482


                                                 19
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          The remainder of Respondent's "defenses" contend that the Secretary has treated

Respondent unfairly and differently than other AWA licensees. Respondent contends the instant

proceeding is a "shadow trial or judgment" wherein USDA "staff is able to accuse and convict

Respondent of anything they desire and manipulate the law and people in order to achieve such

ends." 80 Respondent provides no evidence that would support these contentions. Here the

Respondent has indisputably been found to have violated State or local laws or regulations

related to the ownership and welfare of animals. The AWA and regulations provide that in such

circumstances Respondent is thereby in violation of the AWA. Nothing herein demonstrates any

untoward actions by USDA "staff'' and celitainly no ability by USDA staff to ,convict Respondent - t.�·::.t.:

of anything USDA staff might desire or to1 in any respect manipulate the law or people. The            ·

Secretary has the authority to investigate or inspect "as he deems necessary to determine whether '

any . . . exhibitor . . . has violated or is violating any provision of [the AWA] or any regulations

or standard issued thereunder." 81 Through-this authority, delegated to him through 7 C.F.R. §

2.80(6), the Administrator of APHIS has-determined that Respondent is in violation of the AWA

and her continued possession of an AWA license would be contrary to the purposes of the Act.

As found herein, I agree. The Administrator's determination as to other AWA licensees is not

relevant to these proceedings. 82



F.3d 560, 567-78 (D.C. Cir. 2007), cert. denied, 128 S. Ct. 628 (2007)).
80
     Respondent's Answer to MSJ at 6.
81
     7 U.S.C. § 2146.
82
   See Terranova, 78 Agric. Dec. 248, 342 (U.S.D.A. 2019) ("[N]othing in the Act, Regulations,
or case law requires that the violations in one case must parallel those in another to justify
license revocation."); see also Koretoffv. Vi/sack, 614 F.3d 532, 543 n.3 (D.C. Cir. 2010)
(Henderson, J., dissenting in part) (stating that "case-by-case determinations are the hallmark of
administrative and judicial adjudications").


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      III.      Respondent's Counter-Motion to Dismiss Order to Show Cause

             Respondent submits that "Complainant's Order to Show Cause Should be Dismissed in

its entirety upon summary judgment in favor of the Respondent." 83 Respondent's request is a

motion to dismiss on the pleadings, which is prohibited by section 1.143(6)(1) of the Rules of

Practice (7 C.F.R. § 1.143(6)(1)). 84 Even if the Rules allowed for such a motion, dismissal of

Complainant's Order to Show Cause would be inappropriate under the circumstances. Other than

a few general statements regarding her opinion of APHIS's actions, Respondent has failed to

offer any support for her motion:rit""As found herein, APHIS has demonstrated that Respomfo:.nt is

in violation of the AWA. Therefure; Respondent's Cross-Motion to Dismiss Complainanfs

Order to Show Cause must be DENIED.

      IV.       Respondent's Counter-Motion for Summary Judgment

            Respondent contends: "If summary judgment is granted at all, it should be granted in

favor of the Respondent." 86 However, Respondent offers no evidence in support thereof and has

failed to meet her burden as the,moving party. 87 Furthermore, summary judgment is proper-in

cases where there is "no genuine issue as to any material fact." 88 That Respondent spends the

majority of her Answer to Complainant's Motion for Summary Judgment arguing "there are



83
     Respondent's Answer to MSJ at 21.
84 See 7 C.F.R. § 1.143(6)(]) ("Any motion will be entertained other than a motion to dismiss on
the pleading."); Lindsay Foods, Inc., 56 Agric. Dec. 1643, 1647-48, 1650-51 (U.S.D.A. 1997)
(Remand Order); see also 7 C.F.R. § 1.132 ("Complaint means the formal complaint, order to
show cause, or other document by virtue of which a proceeding is instituted.") (emphasis added).
85
     See Respondent's Answer to MSJ at 21.
86
     Id.
87
     See Knaust, 73 Agric. Dec. at 98-99 (footnotes omitted).
88
     Anderson, 477 U.S. at 255.

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issues ofmaterial fact" in this case completely undermines her argument. 89 Accordingly,

Respondent's Counter-Motion for Summary Judgment must be DENIED.

                                         Findings of Fact

1. Respondent Carrie Leo is an individual who does business as Caring for Cottontails Wildlife

     Rescue & Rehabilitation, Inc., whose mailing address is in New York. (Order to Show Cause

     at 1; Answer at I).

2. At all times material herein, Respondent operated as an exhibitor, as that term is-defined in

     the Act and Regulatrohs, and held AWA license 21-C-0435. (Order to Show Caitse at 1;

     Answer at 1).                                                          -

3. On or about May 10Id'2016, the State ofNew York cited Respondent in Arres'fRebord

     BF0195322 for the.·bffense offailing to provide proper caging facilities for opossums in

     violation ofLicense-to Collect or Possess - Education/Exhibition# 623 ("LCPEE#623")

     Condition 10 and-in:Arrest Record BF0195333 for the offense offailing to submit an

     accurate and comJ')lete exhibition report in violation ofLCPEE#623 Conditi011 Q2. (CX-1;

     CX-2).

4. The State ofNew York initiated a proceeding before the Department ofEnvironmental

     Conservation ("DEC") to revoke Respondent's New York State License to Collect or Possess

     -Education/Exhibition ("LCPEE# 623"). The bases, in part, for the State ofNew York's

     revocation proceeding were the offenses cited in Arrest Records BF0195322 and

     BF0l95333. (CX-2; CX-4).

5. On or about December 12, 2017, the State of New York, Wayne County, in Case No.



89
     Respondent's Answer to MSJ at 6 (emphasis added).


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   1608141, convicted Respondent of the offenses cited in Arrest Records BF0195322 and

   BF019533. (CX-2; CX-3).

6. On or about July 20, 2018, DEC Administrative Law Judge Richard A. Sherman, in In re

   Carrie Leo, DEC Case No. OHMS 2017-72265, after a hearing, concluded and

   recommended the following:

      As detailed above, I conclude that Department staff has met its burden to establish
      that, as alleged in the notice of intent, respondent Carrie M. Leo (i) possessed
      wildlife-without a proper license from the Department; (ii) failed to submit timely
      reports to the Department; (iii) failed to comply with the terms and conditions of
      LCPEEdA623; and (iv) failed to comply with the terms of a federalclfaense directly
      related to the activity authorized by LCPEE #623.

      Accordingly, I recommend that the Commissioner issue an order revoking
      LCPEEdt.�23. I further recommend that the Commissioner direcHlesp6ndent to
      transfehor otherwise dispose of all wildlife held at the facility without proper
      authoriza:tion from the Depaitment within 60 days of service oLthe:::-­
      Commissioner' s order.

   (CX-4).

7. On or about-November 7, 2018, DEC Commissioner Basil Seggos, in In re Carrie Leo, DEC

   Case No. OHMS 2017-72265, issued a decision upon the recommendation of Judge Sherman

   and revoked Respondent's New York State LCPEE #623. (CX-5). Commissioner Basil found

   that Respondent committed the following DEC violations:

      A.· Failed to comply with License Conditions 6 (Addition or Replacement of
          Animals Without Written Authorization Prohibited), 10 (Providing Care for
          Animal[s]) and 22 (Education/Exhibition Repo1ting Requirement) of a
          License to Collect or Possess Certain Species of Wildlife for
          Education/Exhibition Purposes (LCPEE) #623;

      B. Failed to comply with the terms of a federal license directly related to the
         activity authorized by LCPEE #623[;]

      C. Possessed wildlife without a proper license from the Department of
         Environmental Conservation; and



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        D. Failed to keep accurate records and submit timely reports to the Department.

   (CX-5).

                                           Conclusions

1. The Secretary of Agriculture has jurisdiction in this matter.

2. The material facts involved in this matter are not in dispute, and the entry of summary

   judgment in Complainant's favor is appropriate.

3. Respondent has been found to have violated a State or local law or regulation pertaining to

   thertmnspottation, ownership, neglect, or welfare of animals,,as,provided in 9 C.F.R. §

   2.ihl f,a)(6).

4. R�ondent's convictions of the offenses set forth in Arrest Records BF0l 95322 and

   BF0195333 involve the ownership and welfare of animals. :,. ·

5. Respondent's convictions of the offenses set forth in Arrest Records BF0I 95322 and

   BF0195333 demonstrate that Respondent is unfit to hold Animal Welfare Act license 21-C-

   0435.

6. The Administrator of APHIS has shown good cause to grant the relief requested in the

   "Order to Show Cause Why Animal Welfare Act License 21-C-0435 Should Not Be

   Terminated" filed against Respondent on April 21, 2020.

7. To allow Respondent to maintain her AWA license would enable her to operate in

   circumvention of a State or local law in violation of 9 C.F.R. § 2.11 (a)(5).

8. The termination of Respondent's AWA license pursuant to 9 C.F.R. §§ 2.11(a)(5),

   2.1 l (a)(6), and 2.12 is appropriate, promotes the remedial purposes of the Animal Welfare

   Act, and is supported by the evidence of record.



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                                              ORDER

1. Complainant's Motion for Summary Judgment is GRANTED.

2. Respondent's Cross-Motion to Dismiss Complainant's Order to Show Cause is DENIED.

3. Respondent's Cross-Motion for Summary Judgment is DENIED.

4. Respondent's AWA license, 21-C-0435, is hereby TERMINATED in accordance with 9

    C.F.R. § 2.12.

        This Decision-and Order shall be final and effective without further proceedings thirty­

five (35) days after s€ibi1ce upon Respondent unless an appeal to the Judicial Officer is filed with

the Hearing Clerk wit!:i'.m thi1ty (30) days after service, as provided in section 1.145 of the Rules

of Practice (7 C.F.R'. :§ 1,. 145).

        Copies of thiinDecision and Order shall be served upon the parties and co1insel by the
                                                                                 0


                        ;-,,·

Hearing Clerk.

                                               Done at Washington, DC,
                                               this 8th day of September 2020




                                              Channing D. Strother
                                              Chief Administrative Law Judge




Hearing Clerk's Office
U.S. Departrhent of Agriculture
South Building, Room 1031
1400 Independence Avenue, SW
Washington, D.C. 20250-9203
Tel: 202-720-4443
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                                                                                                 REC'D - USDA/OALJ/OHC
                                                                                                   2021 FEB 26 PM 3:01
                    UNITED STATES DEPARTMENT OF AGRICULTURE

                       BEFORE THE SECRETARY OF AGRICULTURE




In re:
                                                    )       AWA Docket No. 20-J-0118
Carrie Leo, an individual, doing business           )
as Caring for Cottontails Wildlife Rescue           )
& Rehabilitation, Inc., a New York State            )
Corporation,                                        )


         Respondent.


                             ORDER DENYING LATE APPEAL


Appearances:

John V. Rodriguez, Esq., with the Office of the General Counsel, United States Department of
Agriculture, Washington, D.C., for the Complainant, the Administrator of the Animal and Plant
Health Inspection Service

Carrie Leo, pro se Respondent

Order Issued by John Walk, Judicial Officer


                                Summary of Procedural History

         This is a proceeding under the Animal Welfare Act, as amended (7 U.S.C. §§ 2131 et

seq.) (“AWA”); the regulations promulgated thereunder (9 C.F.R. §§ 1.1 et seq.)

(“Regulations”); and the Rules of Practice Governing Formal Adjudicatory Proceedings

Instituted by the Secretary Under Various Statutes (7 C.F.R. §§ 1.130 et seq.) (“Rules of

Practice”). The Administrator of the Animal and Plant Health Inspection Service, United States

Department of Agriculture (“APHIS” or “Complainant”) initiated this matter on April 21, 2020

by filing an Order to Show Cause Why Animal Welfare Act License 21-C-0435 Should Not Be

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Terminated (“Order to Show Cause”). The Respondent filed an Answer to the Order to Show

Cause on June 2, 2020. On June 19, 2020, the Complainant filed a Motion for Summary

Judgment against Respondent. On July 30, 2020, the Respondent filed an answer to

Complainant’s Motion for Summary Judgment, wherein the Respondent raised affirmative

defenses and set forth counter-motions for dismissal of the Order to Show Cause and summary

judgment. The Complainant filed a response on August 3, 2020.

       On September 8, 2020, Chief Administrative Law Judge Channing D. Strother (“CALJ

Strother”) issued the Decision and Order Granting Complainant’s Motion for Summary

Judgment and Denying Respondent’s Cross-Motions for Dismissal of Order to Show Cause and

Summary Judgment (“Decision and Order”). On September 9, 2020, the Office of the Hearing

Clerk (“OHC” or “Hearing Clerk”) served the Respondent with a copy of the Decision and Order

by email and on September 12, 2020, OHC served the Respondent with a copy of the Decision

and Order by certified mail. 1 On October 8, 2020, the Respondent requested an extension of

time to file an appeal petition and the Judicial Officer granted an extension to, and including,

November 8, 2020. On November 9, 2020, at 5:02 p.m., the Respondent submitted a Petition for

Review of Decision Made by Administrative Law Judge & Complaint of Deprivation of Rights

(“Appeal Petition”) by email to OHC. The Appeal Petition is date and time-stamped 8:30 a.m.,

November 10, 2020 by OHC. Complainant filed a response to the Appeal Petition on November

25, 2020 (“Complainant’s Response to Petition for Review”). On December 1, 2020,

Respondent filed a request by email for “an additional submission of a supplement to my appeal”

(“Request to Supplement”).




1
 See OHC Letter dated September 9, 2020; United States Postal Service Domestic Return
Receipt for Article Number 7018 2290 0000 8607 1621.
                                                 2
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                                              Discussion

          The Rules of Practice provide that an appeal of an administrative law judge’s written

decision must be filed within 30 days after service, as follows:

                 Within 30 days after receiving service of the Judge’s decision, if the
                 decision is a written decision, or within 30 days after issuance of the
                 Judge’s decision, if the decision is an oral decision, a party who
                 disagrees with the decision, any part of the decision, or any ruling
                 by the Judge or who alleges any deprivation of rights, may appeal
                 the decision to the Judicial Officer by filing an appeal petition with
                 the Hearing Clerk.

7 C.F.R. § 1.145(a).

          CALJ Strother’s Decision and Order of September 8, 2020 in the above-captioned

proceeding was served upon Respondent on September 9, 2020. The deadline to file an appeal to

the Judicial Officer was 30 days from that date, October 9, 2020, pursuant to the Rules of

Practice.2

          However, Respondent made a request for extension of time. In her Notice of Request for

Extension of Time to File Appeal, dated October 8, 2020, Respondent requested “only a 3-4 day

extension ideally until 4:30 PM on Monday, October 12, 2020.”3 The former Judicial Officer

generously granted a 30-day extension of time to November 8, 2020.4




2
    See 7 C.F.R. § 1.145(a).

3
    Notice of Request for Extension of Time to File Appeal.

4
 Order Granting Respondent’s Request to Extend the Time to File an Appeal to the Judicial
Officer.
                                                   3
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          On Saturday, November 7, 2020, Respondent sent an email to Complainant’s counsel and

OHC staff. She wrote:

                 Since the Judge granted my request to have until the end of the 7th
                 to submit my appeal, he probably wouldn’t get it until Monday. May
                 I have until Monday 8:00 AM to send the appeal in?

See Attachment 2 to Complainant’s Response to Petition for Review.

          Where, as here, a filing deadline falls on a Sunday, the Rules of Practice provide that the

time allowed for filing “shall be extended to include the next following business day.”5

Therefore, Respondent already had until 4:30 p.m. (before the time of closing of OHC) 6 on

Monday, November 9, 2020, to submit her appeal.7 However, Respondent did not submit her

Appeal Petition until 5:02 p.m. on Monday, November 9, 2020, which is 32 minutes past the




5
    7 C.F.R. § 1.147(h).

6
 As stated on OHC’s website, “Hours for filing: 8:30 am to 4:30 pm (Eastern)”. See
https://oalj.oha.usda.gov/hearing-clerks-office. Further, OHC served Respondent with a letter
that informed her in bold typeface that OHC’s office hours are 8:30 a.m. to 4:30 p.m. and that
submissions received after 4:30 p.m. would not be stamped until the following business day. See
OHC’s letter dated April 22, 2020; United States Postal Service Domestic Return Receipt for
Article Number 7015 3010 0001 5187 9905.

7
 The Judicial Officer has consistently held that filings are due on the day of the deadline before
OHC closes for purpose of receiving filings. See Peter A. Lang, 57 Agric. Dec. 59, 61 n.2
(U.S.D.A. 1998) (denying as late a request for extension of time to respond to respondent’s
appeal petition made on the day of the filing deadline thirteen (13) minutes after OHC closed for
the purpose of filing documents); Lion Raisins, Inc., 68 Agric. Dec. 244, 286-87, and n.35
(U.S.D.A. 2009), 2009 WL 1064498, at *26, and n.35 (finding that respondents were required to
file an appeal petition no later than 4:30 p.m. on the day of the deadline when OHC receives
documents from 8:30 a.m. to 4:30 p.m.); Derwood Stewart, 60 Agric. Dec. 570, 607 (U.S.D.A.
2001) (finding that request for an extension of time made on the day of the deadline to file an
appeal petition was timely when request was submitted prior to OHC closing at 4:30 p.m. for
purpose of filing documents), aff’d 64 F. App’x. 941, 944 (6th Cir. 2003) (unpublished); Susan
Biery Sergojan, 2010 WL 3191858, at *2-3 (Aug. 3, 2010) (finding appeal petition submitted
after 4:30 p.m. on the day of the deadline was untimely).

                                                   4
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closing time of OHC.8 Further, the Appeal Petition is date and time-stamped received at 8:30

a.m., November 10, 2020, which is the time the Appeal Petition was actually received by OHC.

The Rules of Practice provide that “[a]ny document or paper required or authorized . . . to be

filed shall be deemed to be filed at the time when it reaches the Hearing Clerk”.9 The Judicial

Officer has held that “[t]he Hearing Clerk’s date and time stamp establishes the date and time a

document reaches the Hearing Clerk.”10 Accordingly, Respondent’s Appeal Petition is deemed

filed at 8:30 a.m. on November 10, 2020, the time it was received by OHC. However, even

assuming arguendo that Respondent’s Appeal Petition is deemed filed at 5:02 p.m. on November

9, 2020, that would still be after the filing deadline had passed. Therefore, I find Respondent’s

Appeal Petition is late.

          It has continuously and consistently been held under the Rules of Practice that the

Judicial Officer has no jurisdiction to hear an appeal that is filed after an administrative law

judge’s decision becomes final. 11 The Rules of Practice make the administrative law judge’s



8
    See Attachment 3 to Complainant’s Response to Petition for Review.

9
    7 C.F.R. § 1.147(g).

10
  Susan Biery Sergojan, 2010 WL 3191858, at *3 (U.S.D.A. Aug. 3, 2010); see also Lion
Raisins, Inc., 68 Agric. Dec. 244, 287 (U.S.D.A. 2009), 2009 WL 1064498, at *26 (“The most
reliable evidence of the date and time a document reaches the Hearing Clerk is the date and time
stamped by the Office of the Hearing Clerk on that document.”).

11
  See Hubert Dennis Edwards, 75 Agric. Dec. 280, 281-83 (U.S.D.A. 2016) (concluding that
Judicial Officer had no jurisdiction to hear appeal of ALJ’s decision granting summary judgment
filed after the decision became final); Vega Nunez, 63 Agric. Dec. 766, 769-71 (U.S.D.A. 2004),
2004 WL 2031430, at *2 (concluding that the Judicial Officer had no jurisdiction to hear an
appeal filed on the day the ALJ decision and order became final); Mary Fran Hamilton and M.F.
Hamilton, Inc., 45 Agric. Dec. 2395, 2395 (U.S.D.A. 1986) (dismissing appeal filed on the day
the initial decision became final); Samuel Simon Petro, 42 Agric. Dec. 921, 921 (U.S.D.A. 1983)
(stating that the Judicial Officer lacks jurisdiction to hear an appeal after the administrative law
judge’s initial decision has become final and effective); Veg-Pro Distrib., 42 Agric. Dec. 1173,
1174 (U.S.D.A. 1983) (denying appeal of ALJ’s decision and order filed after it became final);
                                                   5
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written decision final 35 days after the date of service thereof unless an appeal is filed pursuant

to § 1.145.12 CALJ Strother’s Decision and Order also contained the following notice:

                  This Decision and Order shall be final and effective without further
                  proceedings thirty-five (35) days after service upon Respondent
                  unless an appeal to the Judicial Officer is filed with the Hearing
                  Clerk within thirty (30) days after service, as provided in section
                  1.145 of the Rules of Practice (7 C.F.R. § 1.145).

Decision and Order at 25.

           Here, because an extension was requested and granted, the Decision and Order of CALJ

Strother became final at 4:31 p.m. on November 9, 2020, after the filing deadline, as extended,

expired. 13 After that time, the Judicial Officer had no jurisdiction to hear Respondent’s appeal.




David L. Noble, 68 Agric. Dec. 1060, 1061-62 (U.S.D.A. 2009) (concluding that the Judicial
Officer had no jurisdiction to hear an appeal filed November 24, 2009 after the ALJ’s decision
became final on November 23, 2009); Paul Rosberg and Nebraska’s Finest Meats, L.L.C., 73
Agric. Dec. 551, 554 (U.S.D.A. 2014) (concluding that the Judicial Officer had no jurisdiction to
hear an appeal filed on July 29, 2014 after the ALJ’s decision became final on July 28, 2014);
Phyllis J. Britz, 76 Agric. Dec. 26, 29 (U.S.D.A. 2017) (concluding that Judicial Officer had no
jurisdiction to hear appeal petition filed one day after ALJ’s decision and order became final).

12
     7 C.F.R. § 1.142(c)(4).
13
  See Everflora, Inc., 57 Agric. Dec. 1314, 1314-15, and n.3 (U.S.D.A. 1998) (finding that after
Judicial Officer extended filing deadline to August 3, 1998 and OHC closed at 4:00 p.m., the
ALJ’s decision became final at 4:01 p.m. on August 3, 1998 and motion for extension of time
filed at 10:15 a.m. on August 4, 1998 was denied as late); Tim Gray, 64 Agric. Dec. 1699, 1702-
05 (U.S.D.A. 2005) (concluding the Judicial Officer had no jurisdiction to hear an appeal after an
extension of time to file was granted to May 26, 2005 and the appeal was filed May 27, 2005,
one day after the ALJ’s decision became final); David Gilbert, 63 Agric. Dec. 807, 811-14
(U.S.D.A. 2004) (finding that ALJ’s decision became final on the day of the deadline, as
extended by the Judicial Officer, and concluding that Judicial Officer lacked jurisdiction to hear
appeal filed the day after the extended deadline).


                                                   6
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        As the Judicial Officer has explained:

                The Rules of Practice do not provide for an extension of time (for
                good cause or excusable neglect) for filing an appeal petition after
                an administrative law judge’s decision has become final. The
                absence of such a provision in the Rules of Practice emphasizes that
                jurisdiction has not been granted to the Judicial Officer to extend the
                time for filing an appeal after an administrative law judge’s decision
                has become final.

Phyllis J. Britz, 76 Agric. Dec 26, 29 (U.S.D.A. 2017); See also Anglen Produce, Inc., 46 Agric.

Dec. 1239, 1239 (U.S.D.A. 1987) (denying request for extension to file an appeal because ALJ’s

decision became final before the request was made and Judicial Officer no longer had

jurisdiction); Palmer G. Hulings, 44 Agric. Dec. 298, 299 (U.S.D.A. 1985) (“[S]ince the

Decision and Order had already become final, the Judicial Officer lacked jurisdiction to grant an

extension of time for filing an appeal.”); Houston Livestock Co., Inc., 63 Agric. Dec. 896, 897-99

(U.S.D.A. 2002), 2002 WL 31396962, at *1 (“[T]he Judicial Officer cannot grant a request for

an extension of time to file an appeal petition if the request is filed on or after the date the

administrative law judge’s initial decision becomes final.”). Therefore, under the Rules of

Practice, I cannot extend the time for Respondent’s filing an appeal petition after CALJ

Strother’s Decision and Order became final.




                                                   7
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       For the foregoing reasons, the following Order is issued.

                                            ORDER

1. Respondent’s Appeal Petition, filed November 10, 2020, is denied.

2. Respondent’s Request to Supplement filed December 1, 2020, is denied as moot.

3. CALJ Strother’s Decision and Order as to Respondent Carrie Leo, doing business as Caring

    for Cottontails Wildlife Rescue & Rehabilitation, Inc., filed September 8, 2020, is the final

    decision in this proceeding.



                                                    Done at Washington, D.C.,

                                                    this 26th day of February 2021


                                                     JOHN                   Digitally signed
                                                                            by JOHN WALK

                                                     WALK                   Date: 2021.02.26
                                                                            14:54:50 -05'00'
                                                    John Walk
                                                    Judicial Officer




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